         Case 1:23-cr-00095-RBW Document 31-1 Filed 09/07/23 Page 1 of 2



Your Honor,


I am writing this character letter for my husband, Jeffrey Etter. He pled guilty to the charge he is being
sentenced. I have known Jeff for thirteen years and will have been married to him for eleven this July.


Jeff and I met in late November 2010, and got married in July 2012. Since I met Jeff, he has always
been goal-oriented. Actually, the night we met I told him about my life and that I had an adopted
daughter from my ex-husband’s family and wasn’t sure if I could have children. He laughed and said
that he could get me pregnant. That became a joke with us because I was not one to have relations
until marriage. Two months after our wedding, I was pregnant! As I wrote, he’s goal oriented. Your
Honor, hearing stories from his past, Jeff has always been hardworking and goal oriented. He went
into the military and did boot camp the summer before his senior year in high school. He graduated
high school and left for the military the next day. He wanted to be an 82nd Airborne Paratrooper like
his grandfather and he pushed himself until that became reality. Since meeting him in 2010, I watched
him work extremely hard to always be the best. He has always been a great provider for our family. I
was able to stop work after Eli was born in June 2012, something I always wanted. I was able to be
the room mom for my daughter Olivia and be present in everything. Our life was great, then something
changed in 2019. In the summer of 2019 Jeff told me about a situation that happened decades before
and that it had triggered new emotions and he was having a difficult time with not being in control of
things. Jeff started counseling in the fall of 2019 to help deal with post-traumatic stress. I went with
him to a session either late October or early November and I did not realize all the stress and emotions
he was holding onto because of the accident decades before. I could tell you so many stories where
he has helped others in trouble. He has stopped on the side of the road to pull people out of cars on
fire, he has helped people with money troubles, he has given people a place to sleep that needed a
break. As I write this, I’m looking at our bookcase to see all of the awards he has received from the
companies he has worked for. I believe he also received honors while in the military. I write all of that
to tell you our life changed on April 1, 2020. He was fired from his job, when he told me I thought it
was an April fool’s joke. I couldn’t believe that he was fired because weeks earlier he had been given
accolades for his top performance. I did not realize the toll this played on him. He started to spiral
into a deep depression, a man that always pushed himself and others to do better and now he not
only was fired but the world had stopped. Jeff was co-owner of a CrossFit gym, and it was an outlet
and community that he wasn’t allowed to use. At this same time our 16-year-old daughter was also
spiraling downward, and I put most of my attention towards Olivia because she was a social and
athletic girl who was now staying in bed all day and not caring about anything. Jeff was receiving texts
and calls from people at the gym telling him that they couldn’t live this way with complete isolation. This
he did not tell me until months later. So much was happening, and everyone was so angry in the
world. I was angry, I hated my daughter not being able to start her junior year, I hated that we put our
son in a private school and that we had been promised mask use would be minimal and instead he
was wearing them even outside for recess and gym, and my youngest missed out on kindergarten. I
was homeschooling my youngest at the time of 2021.


This brings me to the day of January 6th, if Jeff had a job he would NEVER have been in the District
of Columbia. Jeff didn’t care about the steal, he cared about all the mask mandates. Our kids were
suffering from 7 hours of wearing a mask. Jeff came home on the sixth of January broken more than
before. He was never proud of being in the Capital, he was ashamed. His boys and daughter were
tarnished with this terrible mistake. Your Honor, I pray you have leniency on my husbands
sentence. He is so much more than minutes in a building. That is not the snapshot of his life that I
want people to remember. He is such a great father to our children. An awesome coach to others.
He has always told our children don’t follow a crowd, be a leader. And this moment in time Jeff followed
others into the biggest nightmare of our life. His motto is don’t get bitter get better. March 2020 -
March 2021 was hard to live, in someways I believe Jeff was living in his own mental prison. March
        Case 1:23-cr-00095-RBW Document 31-1 Filed 09/07/23 Page 2 of 2



2021 an amazing thing happened, Jeff became a child of Christ and I don’t know if that would have
happened if January 6th didn’t happen. So I am thankful that it was a wakeup call to have eternity with
our Heavenly Father.


I do pray that before you make your decision that you will take into consideration the mental frame of
my husband and believe me that that was not him and is not him. He is ashamed and full of regret for
getting caught up in a moment.


Sincerely,
